Case 4:21-cv-00033-ALM Document 1-10 Filed 01/14/21 Page 1 of 3 PageID #: 307




EXHIBIT I
Case 4:21-cv-00033-ALM Document 1-10 Filed 01/14/21 Page 2 of 3 PageID #: 308



From: Walls, Levi <LeviWalls@my.unt.edu>
Date: Mon, Nov 18, 2019 at 9:41 AM
Subject: Re: [EXT] Ewell
To: Timothy Jackson <shermanzelechin@gmail.com>



Dear Dr. Jackson,

     Thank you, we’re very excited about the baby. The due date is March 17, so still a little ways to go.

     Yes, the paper’s willful ignorance of Schenker’s Jewish identity is indeed troubling. That seems to
mark it as implicitly antisemitic, at the very least. I think that, had he limited his criticisms to Schenker
the man, it would have been slightly less problematic. But his claim that the entire theoretical world
view—and by extension those who helped spread it—is racist becomes very problematic when we
consider the intimate connection between schenkerian analysis and the Jewish identity. I think that it is
possible to address biases in Schenker studies (and academia in general) and advocate for increased
transparency without demonizing an entire methodology (especially one with strong Jewish roots).
Ewell’s talk certainly failed in that regard.

Regards,

           Levi



From: Timothy Jackson <shermanzelechin@gmail.com>
Sent: Monday, November 18, 2019 6:08:35 AM
To: Walls, Levi <LeviWalls@my.unt.edu>
Subject: [EXT] Ewell



Dear Levi,



This is not a reply to your points, which I need to consider, but my own rumination:



Is Ewell making the absurd claim that Schenkerian voice leading analysis is inherently racist, and is his
attitude to Schenker and Schenkerians anti-Semitic explicitly or implicitly? (I am reminded of fake news
and the world-is-flat people!) Is Ewell a poseur?



I have been thinking that all demagogues have this in common: they use
widespread legitimate grievances - here generalized racism in the US and the challenges it poses to




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Case 4:21-cv-00033-ALM Document 1-10 Filed 01/14/21 Page 3 of 3 PageID #: 309



academics of color - to lash out against perceived targets of opportunity. That is what Hitler did with the
Jews, and what Trump does today with non-White immigrants and others: in this case, does Ewell seize
upon Schenker and Schenkerians - mostly Jews, and mostly immigrants fleeing the Nazis - and blame
them for the paucity of Blacks in the field of music theory? I have been thinking that Allen Forte, who
gave Ewell - and, for that matter female and Jewish students, a chance - would be turning in his grave if
he knew what Ewell is now saying, if that is indeed the case.



On another somewhat more genial topic, I send the score examples for a talk that I gave back in 2000
about Bach's Saint John Passion, and more specifically, about the role of the recapitulation in the aria
No. 35, the soprano aria, "Zerfliesse, mein Herz." Usually, Bach employs the da capo aria form, with its
clearly defined A and B sections, whereby the A section is repeated after the B. But here in this special
aria - exceptionally - Bach limits himself to to just A and B sections. That being said, still, even without
the literal repetition of the entire A section, he finds a way to preserve the da capo form. I believe that,
quite remarkably, he achieves this by working repetitions of parts of the A section in the B section! In my
annotated score, I indicate precisely those places in the latter part of the aria where elements of the A
section reappear. Of course, from a tonal-structural perspective, these musical elements are now
revalued, and their transformation represents the changes brought about in the worshipper's soul by
experiencing Christ's sacrifice first-hand, i.e., by reliving the Passion with Christ. That is the underlying
motivation for Bach's unusual treatment of the da capo form in this aria.



Best wishes, Tim




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